Case 6:20-cv-00272-JDK-KNM Document1 Filed 05/15/20 Page 1of 41 PageID#: 1

PRISONER'S CIVIL RIGHTS COMPLAINT (Rev. GS 2015) United States Courts
Southern District of Texas
IN THE UNITED STATES DISTRICT COURT FILED
FORTHE _ DISTRICT OF TEXAS MAY 15 2020
DIVISION

David J. Bradley, Clerk of Court
‘Wlele Inmates Chass
Plaintiff's Name and ID Number
EAST TEXAS |STERMED BIE. Sank Fron FrcdsTy
Place of Confinement

CASE NO.

(Clerk will assign the number)
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Defendant's Name and Address

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Defendant's Name and Address

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Defendant's Name and Address
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INSTRUCTIONS - READ CAREFULLY
NOTICE:
Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and one copy of your complaint with the court. You should keep
a copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ONIT.

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3. You must file a separate complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short and
plain statement of your claim. Rule 8, Federal Rules of Civil Procedure.

4. When these forms are completed. mail the origina] and one copy to the clerk of the United States district court
for the appropriate district of Texas in the division where one or more named defendants are located, or where the
incident giving rise to your claim for relief occurred. If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (TDCJ-CID). the list labeled as “VENUE LIST™ is posted in your unit
law library. Itisa list of the Texas prison units indicating the appropriate district court, the division and an address
list of the divisional clerks.

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FILING FEE AND IN FORMA PAUPERTS (FP)

i. In order for your complaint to be filed, it must be accompanied oy ihe siatutory filme fee of $350.00 plus an
administrative fee of $50.00 for a total fee of $400.00.

2. Ifyou do not have the necessary funds to pay the fee in full at this time, you may request permission to proceed
in forma pauperis. In this event you must complete the applicatien to proceed in forma pauperis, setting forth
information to establish your inability to prepay the fees and costs or give security therefor. You must also include
a current six-month history of your inmate trust account. If you are an inmate in TDCJ-CID, you can acquire the
application to proceed in forma pauperis and the certificate of inmate trust account. also known as im forma
pauperis data sheet, from the law library at your prison unit,

3. The Prison Litigation Reform Act of 1995 (PLRA) provides ”... if a prisoner brings a civil action or files an
appeal in forma pauperis, the prisoner shall be required to pay the full amount of a filing fee.” See 28 U.S.C.
§ 1915, Thus, the court is required to assess and, when funds exist. collect, the entire filing fee or an initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed in forma pauperis, the court will apply 28 U.S.C. § 1915 and, if appropriate.
assess and collect the entire filing fee or an initial partial filing fee, then monthly installments from your inmate trust
account, until the entire $350.00 statutory filing fee has been paid. (The $50.00 administrative fee does not apply
to cases proceeding in forma pauperis.)

4. Ifyou intend to seek in forma pauperis status, do not send your complaint without an application to proceed
in forma pauperis and the certificate of inmate trust account. Complete all essential paperwork before submitting
it to the court.

CHANGE OF ADDRESS

Itis your responsibility to inform the court of any change of address and its effective date. Such notice should be
marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shall not include any motion for any
other relief. Failure to filea NOTICE TO THE COURT OF CHANGE OF ADDRESS may result in the dismissal
of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure.

I. PREVIOUS LAWSUITS:
A. Have you filed any other lawsuit in state or federal courtrelating to yourimprisonment? YES Ko

B. If your answer to “A” is “yes,” describe each lawsuit in the space below. (If there is more than one
lawsuit, describe the additional lawsuits on another piece of paper, giving the same information.)

1. Approximate date of filing lawsuit: N/A

2. Parties to previous lawsuit:
Plaintiff(s) NWN / Al

Defendant(s)

NIA

3. Court: (If federal. name the district: if state, name the county.)
4. Cause number: NV / A

5. Name of judge to whom case was assigned: N / A yl
6. Disposition: (Was the case dismissed, appealed, still pending?) AN / A _
7. Approximate date of disposition: AL / A

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HT. EXHAUSTION OF GRIEVANCE PROCEDURES:
Have you exhausted all steps of the institutional grievance procedure? Wes NO

Attach a copy of your final step of the grievance procedure with the response supplied by the institution.
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IV. PARTIES TO THIS SUIT:

A. Name andaddress of plaintitt:. Alolees Cas pClass» ee a

B. Fullname of each defendant. his official position. his place ofemployment, and his full mailing address.

Defendant #1: TEXAS De PhetmMent—oF Chita. Sustree 1 Hayle

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Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

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Defendant #3: Manage Ment TRawiink; Cbk pokhtons Hinde2on JEXAS

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
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Defendant=4:

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

Defendant =5S:

Briefly describe the act(s) or omission(s) of this defendant which vou claimed harmed you.

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STATEMENT OF CLAIM:

State here ina shortand plain statement the facts of your case, that is, what happened, where did it happen,
when did it happen, and who was involved. Describe how each defendant is involved. fou neva 3

any legal arguments or cite any cases or statutes, If you intend to allege a number of related claims, number
and set forth each claim in a separate paragraph. Atiach extra pages if necessary, but remember the
complaint must be stated briefly and concisely. [F YOU VIOLATE THIS RULE, THF COURT MAY
STRIKE YOUR COMPLAINT.

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RELIEF:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases or
statutes.

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GENERAL BACKGROUND INFORMATION:

A. State. in complete form, all names you have ever used or been known by including any and all aliases.

MIA

B. List all TDCJ-CID identification numbers you have ever been assigned and all other state or federal
prison or FBI numbers ever assigned to you.

N/A

SANCTIONS:

A. Have you been sanctioned by any court as a result of any lawsuit you have filed? YES SA) NO

B. If your answer is “yes,” give the following information for every lawsuit in which sanctions were
imposed. (If more than one, use another piece of paper and answer the same questions.)

1. Court that imposed sanctions (if federal, give the district and division): AS / A

2. Case number: _ NV / Al a

3. Approximate date sanctionswereimposed: __ / AL -

4. Have the sanctions been lifted or otherwise satisfied? ON / A _ YES _NO
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C. Has any court ever warned or nottied you that sanctions could be imposed? YES WAND

D. [fyouranswer is “yes,” give the followingintormation for every lawsuitin which a warning was issued.
(if more than one, use another piece of paper and answer the same questions.)

1. Court thatissued warning (it federal, AL A / A

Casenumber: ve A

3. Approximate date warning was sissued: NV [/ . A

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Executed on: §-3 -2020
DATE

(Signature of Plaintiff)

PLAINTIFF’S DECLARATIONS

1. I declare under penalty of perjury all facts presented in this complaint and attachments thereto are true
and correct.

2. J understand, if | am released or transferred, it is my responsibility to keep the court informed of my
current mailing address and failure to do so may result in the dismissal of this lawsuit.

3. J understand | must exhaust all available administrative remedies prior to filing this lawsuit.

4. [understand] am prohibited from bringing an in forma pauperis lawsuit if I have brought three or more

civil actions or appeals (from a judgment in a civil action) in a court of the United States while
incarcerated or detained in any facility, which lawsuits were dismissed on the ground they were
frivolous, malicious, or failed to state a claim upon which relief may be granted, unless | am under
imminent danger of serious physical injury.

5. ] understand evenif] am allowed to proceed withoutprepayment of costs, ] am responsible for the entire
filing fee and costs assessed by the court. which shall be deducted in accordance with the law from my
inmate trust account by my custodian until the filing fee is paid.

Signed this y day of _ 5 . 20 JIC.

(Day) (month) - (year)

i
(Signature 0 Plaintiff)

WARNING: Plaintiff is advised any false or deliberately misleading information provided in response to the
above questions may result in the imposition of sanctions. The sanctions the court may impose include, but
are not limited to, monetary sanctions and the dismissal of this action with prejudice.

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TEXAS DEPARTMENT OF CRIMINAL JUSTICE

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& PLEASE ABIDE By THE FOLLOWING CHANNELS OF COMMUNICATION. THIS WILL SAVE TIME, GET YOUR REQUEST To THE
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Fill out this form completely and on the next to
last page section IV tell Access to Courts that
you are needing a transfer to a TDCJ unit with
Law Library access, since you have two ACTIVE
CASES. Also you were told that if you need a
LEGAL ADDRESS TO I-60 THE MAILROOM. If any
blank is left unfilled the request will be
considered incomplete and will not be sent.
Have the completed form ready in the morning
4/3/20 before 7am in your door.

LAW LIBRARY
Case 6:20-cv 00272 IRIN, Ronen cEeRhORL4S2R | Pane. aa PagelD #: 38

Inter-Office Communication
Administrative Review and Risk Management
Ay s Offender Grievance

TO: Hust Jonathan

TDCI #: XBOYVAYS
UNIT: XO,
DATE: 4/8/2020

FROM: Central Grievance Office SUBJECT: Improperly Submitted Grievance

Your documents received in this office have been reviewed and a response is indicated below. Contact
the warden, major, chief of classification or a security. officer for issues you deem as an emergency;

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‘ Texas Department of Criminal Justice OFFICE USE ONLY
OFFENDER ee
STEP 1 Grievance rorm |"
Date Due:
. : | Gricrance Code: _

Offeader Name: Nou NATHAN. Ms al _TDCS # eat _ | Investigator 1D &
Unit: East Tx 1S.F, Housing Assignment: SY U7 — Extension Date:
Unit where incident occurred: Last Te 1S-K Date Retd wy Offender:

You must try to resolve your problem with 2 staff member before you submit a formal complaint. The only exception is when

appealing the results of a disciplinary hearing.
Who did you talk to (name, title)? 2yeRyqve / “Cou 2b When? Si/CX / Bees/ ees:

What was their response? RésParlses Vaeien Bur Geacerl Consedsus sdas po ne YSes Low Liteay

What action was taken? 2 (JAS Hacen 1A ADAWMSTPATTVe Se GeeGArion MAR 2 4 2029

State your grievance in the space provided. Please state who, what, when, where and disciplinary case number if appropriate. .

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‘27 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM °° (OVER)

Append

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int tes elt se _ Date: 3 -2O ~ JO2O |

. Grievance Response:
Signature Authority: Date:
Returned because: *Resubmit this form when corrections are made. OFFICE USE ONLY
- Initial Submission CGO Initials:
L] 1 Grievable time period has expired. Date UGH Reed:
J 2. Megible/Incomprehensible. * . Date CGO Recé:
] 3. Originals not submitted. * (@ekens)__Screened __Impropecly Submitted
(] 4. inappropriate/Excassive attachments. * OS Comments
| Date Retmmed to Offender:
[_] 5. Malicious use of vulgar, indecent, or physically threatening languagt 2™ Submission CGO Initials:
[_] 6. Inappropriate. * Date UGH Reed:
(@uckons). Screened ___Tmmpropeciy Submitted
_ CGO Staff Signature: - Date Retumed to Offender:
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